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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA
                                                  *

 v.                                               *            Criminal No. LKG-25-6

 THOMAS C. GOLDSTEIN                              *

                                                  *


                                             ORDER

       On February 10, 2025, an attorney-inquiry and Faretta hearing was conducted in this case.

Defendant Thomas C. Goldstein (“Mr. Goldstein”) was present, along with one of his three

“limited appearance” counsel (Stanley Reed), who was present in the gallery but not at the defense

table. Mr. Goldstein addressed the Court and stated that, under the circumstances, he wished to

represent himself.

       In Faretta v. California, 422 U.S. 806 (1975), the Supreme Court made clear that a

defendant has a constitutional right to self-representation. See also United States v. Roof, 10 F.4th

314, 351 (4th Cir. 2021), cert. denied, 143 S. Ct. 303, 214 L. Ed. 2d 132 (2022); United States v.

Ziegler, 1 F.4th 219, 228 n.4 (4th Cir. 2021); United States v. Cohen, 888 F.3d 667, 672 n.2 (4th

Cir. 2018). The Court advised Mr. Goldstein that proceeding with “limited appearance” counsel

was not acceptable. Mr. Goldstein reaffirmed and expressed his desire to represent himself. He

indicated that the Court’s prior order setting of conditions of release (including posting his

residence as collateral to be forfeited to the Government if he flees) was preventing him from

retaining counsel. He stated that he wished to retain counsel of his choice but cannot afford to do

so under the current conditions of release. The Court noted that Mr. Goldstein has already appealed

the decision on his conditions of release to Judge Griggsby.
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       Mr. Goldstein is an attorney. He has practiced for over 25 years. He has a full understanding

and extensive knowledge of federal criminal practice, both in terms of substance and procedure.

The Court asked Mr. Goldstein numerous questions about his understanding of the charges against

him, including the maximum penalties he faces if convicted, and is satisfied that he understands

the serious nature of this case. The Court also discussed with Mr. Goldstein the ways an attorney

could be of assistance to him even though he is an attorney himself. Mr. Goldstein was warned of

the substantive and procedural hazards awaiting him if he elected to represent himself in this case.

       After considering Mr. Goldstein’s responses to the Court’s exhaustive inquiry, the Court

concludes that Mr. Goldstein is competent, that he has a rational and factual understanding of the

proceedings against him, and that he has made a timely, clear, and unequivocal assertion of his

desire to avail himself of his constitutional right to self-representation. The Court notes that Mr.

Goldstein’s desire to represent himself is qualified only by his desire to retain counsel of choice,

which he states he cannot presently afford. The Court further finds that Mr. Goldstein has made a

knowing, intelligent, and voluntary decision (after being fully advised of the dangers and

disadvantages of representing himself) to waive his right to counsel and to self-represent. The

Court also explained to Mr. Goldstein that any type of hybrid representation (where he acts has his

own attorney for some matters but has a lawyer act on his behalf for other matters) will not be

permitted. Mr. Goldstein has not requested that the Court appoint counsel pursuant to the Criminal

Justice Act.




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       Accordingly, for the reasons stated on the record during the hearing, the Court finds that

Mr. Goldstein may represent himself moving forward in this case.


February 10, 2025                                  /s/
Date                                        Timothy J. Sullivan
                                            Chief United States Magistrate Judge




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